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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                                  )
COMMITTEE TO DEFEND THE                           )
PRESIDENT,                                        )
                                                  )
       Plaintiff,                                 )       Civ. No. 18-888 (RDM)
                                                  )
               v.                                 )
                                                  )
FEDERAL ELECTION COMMISSION,                      )       JOINT STIPULATION
                                                  )       OF DISMISSAL
       Defendant.                                 )
                                                  )

                             JOINT STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all parties hereby agree to the

voluntary dismissal of this action.

       Committee to Defend the President (“CDP”) brought this action seeking a declaratory

judgment and an injunction ordering the Federal Election Commission (“FEC” or

“Commission”) to act on an administrative complaint CDP had filed against Hillary Victory

Fund and related persons and entities. (Verified Complaint, Prayer for Relief 1 & 2 (Docket No.

1).) In particular, CDP sought an injunction ordering the FEC to vote on whether there was

reason to believe that the administrative respondents violated the law. (Verified Complaint,

Prayer for Relief 2.a (Docket No. 1).) On April 29, 2019, the Commission held that vote. The

FEC then voted to close its file in the matter.

       As a result, all parties stipulate to dismissal of this action. Each party will bear its own

costs and attorneys’ fees.
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Dated May 23, 2019                            Respectfully submitted,

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